         Case 17-13955-mdc                     Doc       Filed 11/18/21 Entered 11/18/21 14:14:54                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 8
 Debtor 1              Vida Debrah
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District      of __________
                                                          of Pennsylvania
                                                      District

 Case number             17-13955
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   PNC BANK, N.A.
 Name of creditor: _______________________________________                                                        3
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           6 ____
                                                         ____ 5 ____
                                                                  4 ____
                                                                      3              Must be at least 21 days after date        01/01/2022
                                                                                                                                _____________
                                                                                     of this notice


                                                                                     New total payment:                         $ _____896.33
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    277.39
                   Current escrow payment: $ _______________                      New escrow payment:          $ _______279.94


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      
      
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                New interest rate:           _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      
      
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                    New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                           page 1
          Case 17-13955-mdc                         Doc           Filed 11/18/21 Entered 11/18/21 14:14:54                      Desc Main
                                                                  Document      Page 2 of 8

Debtor 1         _Vida Debrah_____________________________________________________________________                 17-13955
                                                                                   Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     
     ✔     I am the creditor.

          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8/s/ Vicki Pringle
     _____________________________________________________________
     Signature
                                                                                               Date    11/18/2021___________________



 Print:             Vicki Pringle
                    _________________________________________________________                  Title   Default Support Specialist
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            PNC BANK, NA
                    _________________________________________________________



 Address            3232 NEWMARK DRIVE
                    _________________________________________________________
                    Number                 Street

                    MIAMISBURG                       OH      45342
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      866-754-0659
                    ________________________                                                          bankruptcy@pnc.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                 page 2
                                               REPRESENTATION OF PRINTED DOCUMENT
           Case 17-13955-mdc                   Doc        Filed 11/18/21 Entered 11/18/21 14:14:54                               Desc Main
                                                          Document      Page 3 of 8




                                                                                                LOAN NUMBER:
                                                                                                   PREPARED: November 08, 2021

           VIDA DEBRAH
           7312 BUNTING PL
           PHILADELPHIA PA 19153-2302
                                                                                                CUSTOMER SERVICE 1-877-526-3603

                                                                                                   pnc.com/mortgagecustomercare


                                                               Your Escrow Summary
Real Estate Settlement Procedures Act (RESPA) guidelines require us to provide you with an Annual Escrow Analysis Statement which includes all of
your escrow disbursements from the previous year, as well as your estimated escrow disbursements for the upcoming year. All of the information that is
provided on your enclosed annual escrow analysis statement is regulated by RESPA and cannot be changed. In an effort to simplify the escrow account
information and monthly payment information that is calculated on the original document, we have also included this summary which will provide you with
a quick snapshot of your actual escrow analysis statement. Please note that increases or decreases in your property taxes and/or insurance premiums
will result in a change in your monthly payment amount, and may result in an escrow shortage or surplus.



                                                      New Monthly Payment                               Current Monthly Payment

Payment Effective Date                                       January, 2022                                        January, 2021
Payment Amount                                                    $896.33                                              $893.78

Monthly Payment Breakdown                             New Monthly Payment                               Current Monthly Payment

Principal & Interest                                                 $616.39                                             $616.39
Escrow Items                                                         $279.94                                             $277.39
Total Monthly Payment                                                $896.33                                             $893.78

Monthly Escrow Collection Amount                      New Monthly Collection Amount                     Current Monthly Collection Amount

Monthly Tax Amount                                                   $164.36                                             $162.72
Monthly Insurance Amount                                             $115.58                                             $114.67
Monthly MIP/PMI Amount                                                 $0.00                                               $0.00
Total Monthly Escrow Amount                                          $279.94                                             $277.39

Annual Escrow Collection Amount                       New Annual Collection Amount                      Current Annual Collection Amount

Annual Tax Amount                                                 $1,972.32                                            $1,952.59
Annual Insurance Amount                                           $1,387.00                                            $1,376.00
Annual MIP/PMI Amount                                                 $0.00                                                $0.00
Total Annual Escrow Collection Amount                             $3,359.32                                            $3,328.59




   Please see reverse for more information and Frequently Asked Questions about escrow
   analysis.
           Case 17-13955-mdc                    Doc      Filed 11/18/21 Entered 11/18/21 14:14:54   Desc Main
                                                         Document      Page 4 of 8
                                             Frequently Asked Questions
Why did my payment change?
  An increase or decrease in your payment may be a result of an increase or decrease in your
  property taxes and / or insurance premiums and may result in an escrow shortage or surplus.
  An increase or decrease in your taxes may be due to a property reassessment, a change in the
  tax rate, a change in an exemption or a special assessment. An increase or decrease in your
  hazard insurance premium may be caused by a change in / or amount of your insurance
  coverage, or an increase in your insurance rate.

Can my mortgage company provide me with information concerning why there were changes
in my tax payments, special assessments, or insurance premiums?
   We apologize but your mortgage company does not have information as to why your taxes
   insurance or special assessments have changed. Please contact your local tax office or your
   insurance agent for further assistance.

What should I do if I receive a tax bill?
  If you have an escrow account for taxes and the bill is for the current taxes due, we will obtain
  the tax bills from the tax collector. If you have an escrow account for taxes and the tax bill is
  for delinquent taxes due, please call us at 1-800-822-5626. If it is necessary to send a copy of your
  tax bill to us, please include your loan number and forward it to:
                                       PNC Bank
                                       Attn: Tax Department-B6-YM13-01-7
                                       P.O. Box 1804
                                                PNC BankAttn: Tax Department- D
                                       Dayton, OH 45401-1804
ayton, OH 45401-1804

    • PA, CA, VA, MD, NJ, ID, IA, ME, and CT Customers: Supplemental or special / additional
      assessment tax is not escrowed. You will be responsible for paying these bills.

What should I do if I receive an insurance renewal notice and a bill requesting payment?
  If you have an escrow account for insurance, please forward a copy of your bill with your loan
  number to:
                               PNC   Bank, National
                               PNC Bank,    NA      Association
                               ISAOA   ATIMA
                               ISAOA ATIMA
                               P.O.  Box 7433
                               P.O. Box  7433
                               Springfield,
                               Springfield, OH
                                            OH 45504
                                                 45501
                               1-888-229-5429
                               888-229-5429

If there is a shortage in my escrow account, what should I do?
    You may pay the shortage in your escrow account using the coupon attached to the escrow
    analysis. Upon receipt of the payment of the shortage, we will adjust your payment to reflect
    the lower payment amount. If you choose not to pay the shortage, the shortage will be spread
    over the next 12 months, interest free. In either case, your payment will be adjusted to reflect
    the new amount. If you currently use a coupon book for remitting your payment, a new book
    will be sent to you within 20 days of the original escrow analysis.

My payment is deducted from my checking account each month, if my payment changed
do I need to do anything to adjust the payment amount currently being deducted?
   If your payment is deducted from your checking account each month, the new payment
   amount will automatically be deducted from your account.

For future reference, please note the following methods available for you to contact us:

         Website / Online Loan Information                                    Voice Connect / Customer Service
    Account
     AccountAccess 24 hours
              Access        a day
                       24 hours   – 7 days
                                a day      a week
                                      – 7 days a week                        Convenient •• Toll-Free
                                                                             Convenient    Toll-Free •• Easy-To-Use
                                                                                                        Easy-To-Use
            pnc.com/mortgagecustomercare
             pnc.com/mortgagecustomercare                                              1-877-822-5626
                                                                                       1-877-526-3603


Mailing Addresses:
              Customer Service Inquiries                                     Overnight / Express Mail Payments
                 PNC Bank, NA
        Attn: Customer Service Research                                                    PNC Bank
                  B6-YM07-01-7                                                        350 East Devon Ave
                 P.O. Box 1820                                                          Itasca, IL 60143
             Dayton, OH 45401-1820
PNC Bank, a division of PNC Bank, National Association
PNC Bank, National Association
                                                           REPRESENTATION OF PRINTED DOCUMENT
                 Case 17-13955-mdc       Doc
                               P.O. Box 1820                         Filed 11/18/21 Entered 11/18/21     14:14:54
                                                                                                      ESCROW       Desc Main
                                                                                                              ACCOUNT
                                                 Dayton, OH 45401-1820 Document        Page 5 of 8 DISCLOSURE  STATEMENT
                                                 Website: pnc.com/mortgagecustomercare
                                                 Customer Care Center: 1-877-526-3603                                            LOAN NUMBER:
                                                                                                                                        DATE:                        November 08, 2021

                                                                                                                                 PROPERTY ADDRESS:
                                                                                                                                    7312 BUNTING PL
                                                                                                                                    PHILADELPHIA, PA 19153


                 VIDA DEBRAH
                 7312 BUNTING PL
                 PHILADELPHIA PA 19153-2302




  CURRENT MONTHLY MORTGAGE PAYMENT
   Principal & Interest                                                            616.39          Æ                          NEW PAYMENT INFORMATION
                                                                                                                 Principal & Interest                                                            616.39

                                                                                                   Æ
   Escrow                                                                          277.39                        Escrow                                                                          279.94
   Total Payment                                                                   893.78                        Total Payment                                                                   896.33
                                                                                                                 New Payment Effective Date                                                    01/01/22

                                                                                                   Æ
                                                                            COMING YEAR ESCROW PROJECTION
 This statement provides a detailed summary of activity related to your escrow account. PNC Bank maintains your escrow account to pay such items as property taxes,
 insurance premiums, and mortgage insurance.
 This section lists a 12-month running escrow balance to determine the appropriate target balance and to determine if a shortage or surplus exists. This is a projection of the
 anticipated activity in your escrow account for the coming 12 months.

   ANTICIPATED ESCROW DISBURSEMENT                                          PAYMENTS                                                             PAYMENTS               CUR BAL             REQ BAL
                                                             MONTH         TO ESCROW                      DESCRIPTION                          FROM ESCROW            PROJECTION          PROJECTION
CITY TAX                                     $1,972.32
                                                                                                       BEGINNING BALANCE                                                  2,944.35            2,239.56
HAZARD INS                                   $1,387.00
                                                             January             279.94                                                                                     3,224.29            2,519.50
                                                             February            279.94                                                                                     3,504.23            2,799.44
                                                             March               279.94                   CITY TAX                               1,972.32                   1,811.85            1,107.06
                                                             April               279.94                                                                                     2,091.79            1,387.00
                                                             May                 279.94                                                                                     2,371.73            1,666.94
                                                             June                279.94                 HAZARD INS                               1,387.00                   1,264.67 *            559.88 **
TOTAL DISBURSEMENTS                          $3,359.32
                                                             July                279.94                                                                                     1,544.61              839.82
DIVIDED BY 12 MONTHS                                         August              279.94                                                                                     1,824.55            1,119.76
                                                             September           279.94                                                                                     2,104.49            1,399.70
MONTHLY ESCROW DEPOSIT                         $279.94       October             279.94                                                                                     2,384.43            1,679.64
                                                             November            279.94                                                                                     2,664.37            1,959.58
 CALCULATION OF ESCROW ADJUSTMENT                            December            279.94                                                                                     2,944.31            2,239.52
                                                             * The projected escrow balance at the low point.
BEGINNING PROJECTED BALANCE                  $2,944.35       ** The lowest balance the escrow account should attain during the projected period.
BEGINNING REQUIRED BALANCE                   $2,239.56

ESCROW SURPLUS                                 $704.79
                                                                                                             MORE INFORMATION ON REVERSE SIDE
The required minimum balance allowed by
federal law (RESPA) is two times your monthly
escrow payment (excluding MIP/PMI), unless
your mortgage document or state law specifies
a lower amount.



                                                                             IMPORTANT MESSAGES
 Make your check, money order or cashier's check payable to PNC Bank. All Payments must be funds from a U.S. Bank Account and are subject to PNC's acceptance. Do NOT
 send cash by mail.




 We understand that you have filed for bankruptcy and have not yet received a discharge. None of the information requested in this statement will be used for the collection of any debts or for purposes
 prohibited by the Bankruptcy Code or other applicable Federal or state law.




                                                                                      INTERNET REPRINT




                        Your escrow account has a surplus balance of $704.79. Due to the past due status of your loan, these
                        funds are being retained in your escrow account. Once your loan status is current, you may contact
                        Customer Service about your refund.
                                      Case 17-13955-mdcESCROW
                                                         Doc ACCOUNT
                                                              Filed 11/18/21   EnteredSTATEMENT
                                                                        DISCLOSURE     11/18/21 14:14:54                                         Desc Main
                                                              Document       Page 6 of 8
        LOAN NUMBER:                                                                                                                           DATE: November 8, 2021

        Your projected escrow balance as of 12/31/21 is 2,944.35. Your required escrow balance, according to this analysis, should be 2,239.56. This means you
        have a surplus balance of $704.79. If a refund check was issued at the time of the analysis, the check is attached to the bottom of this form.
        Once during this analysis period, your required escrow balance should be reduced to a target balance of $559.88, as it does in June. Under Federal law,
        your target balance should not exceed an amount equal to two months of escrow payments for taxes and insurance, unless your mortgage document or
        state law specifies a lower amount.

        Projected Activity from the Previous Analysis
        This is a projection of the activity for your escrow account from the Previous Analysis. This projection was based on the disbursements anticipated to be
        made from your escrow account. Compare this projection to the actual escrow activity in the Account History (summarized below).
        The escrow payment in this projection may not equal the escrow payment in the Account History if an adjustment was made to collect a shortage or refund
        a surplus.
        Adjustments to the payment and differences between the anticipated and actual disbursements may prevent the actual balance from reaching the projected
        low escrow balance.
            Date                                          Description                                Payments                  Disbursements                                                                                                        Balance
                                                          BEGINNING BALANCE                                                                                                                                                                        2,219.03
         01/21                                                                                         277.39                                                                                                                                      2,496.42
         02/21                                            CITY TAX                                     277.39                       1,952.59                                                                                                         821.22
         03/21                                                                                         277.39                                                                                                                                      1,098.61
         04/21                                                                                         277.39                                                                                                                                      1,376.00
         05/21                                                                                         277.39                                                                                                                                      1,653.39
         06/21                                            HAZARD INS                                   277.39                       1,376.00                                                                                                         554.78 **
         07/21                                                                                         277.39                                                                                                                                        832.17
         08/21                                                                                         277.39                                                                                                                                      1,109.56
         09/21                                                                                         277.39                                                                                                                                      1,386.95
         10/21                                                                                         277.39                                                                                                                                      1,664.34
         11/21                                                                                         277.39                                                                                                                                      1,941.73
         12/21                                                                                         277.39                                                                                                                                      2,219.12
        TOTAL                                                                                        3,328.68                       3,328.59

        Account History
        This is a statement of actual escrow account activity from November 2020 through December 2021. Compare it to the Projected Activity from the Previous
        Analysis which appears above the Account History.
        Your total mortgage payment during the past year was $893.78 of which $616.39 was your Principal and Interest payment and $277.39 was your escrow
        payment.
             Date                  Description                                             Payments                Disbursements                   Balance
                                   BEGINNING BALANCE                                                                                                 240.51
            11/20                                                                            390.64                                                 -150.13
            12/20                                                                            390.64                                                  240.51
            01/21                                                                            390.64                                                  631.15
            02/21                                                                            781.28                               *               1,412.43
            02/21                  CITY TAX                                                                              1,972.32 *                 -559.89
            03/21                                                                            390.64                                                 -169.25
            04/21                                                                            390.64                                                  221.39
            05/21                                                                            781.28                                               1,002.67
            06/21                                                                            277.39                               *               1,280.06
            07/21                  HAZARD INS                                                277.39                      1,387.00 *                  170.45
            08/21                                                                            554.78                                                  725.23
            09/21                                                                            277.39                                               1,002.62
            10/21                                                                            277.39                                               1,280.01
            11/21                                                                          1,386.95 e                                             2,666.96
            12/21                                                                            277.39 e                                             2,944.35
         TOTAL                                                                             6,844.44                      3,359.32
        * Indicates a difference from projected activity either in the amount or the date.
        ** Required minimum escrow balance.
        "e" Indicates estimates for future payments or disbursements.
        If you have any questions about this analysis statement, please visit us at pnc.com/mortgagecustomercare to send us an email, write to us at PNC Bank;
        Attention: Customer Service Research; B6-YM07-01-7, PO Box 1820; Dayton, OH 45401 or call our Customer Service Department toll free number
        1-877-526-3603.




O                                                                      O                                 O                                           O
    R                                                                      R                                R                                                 R
     IG                                                                     IG                                IG                                                                               IG
                                                                                                                                                                                                                                                                            X
                                                                                                                                                                                                    DO NOT WRITE, STAMP OR SIGN BELOW THIS LINE




         IN                                                                   IN                                  IN                                                                                                                              IN
                                                                                                                                                         




                 A                                                              A                                    A                                                                                                                              A
                                                                                                                                                         RESERVED FOR FINANCIAL INSTITUTION USE 




                        L                                                        L                                    L                                                                                                                                 L
                                 D                                                   D                                    D                                                                                                                                 D
                                      O                                               O                                    O                                                                                                                                    O
                                          C                                               C                                   C                                                                                                                                  C
                                              U                                            U                                   U                                                                                                                                     U
                                                  M                                         M                                   M                                                                                                                                        M
          “ORIGINAL DOCUMENT”.
          clearly see the words
          Do not cash if you do not




                                                   EN                                          EN                                  EN                                                                                                                                       EN
                                                       T                                         T                                   T                                                                                                                                           T
O                                                                      O                                O                                            O
 R                                                                      R                                 R                                           R
    IG                                                                   IG                                  IG                                                                 IG
        IN                                                                 IN                                   IN                                                                                                                      IN
              A                                                              A                                     A                                                                                                                               A
                     L                                                          L                                   L                                                                                                                                  L
                              D                                                     D                                   D                                                                                                                                  D
                                      O                                              O                                   O                                                                                                                                     O
                                          C                                             C                                     C                                                                                                                                 C
                                           U                                             U                                     U                                                                                                                                    U
                                              M                                            M                                    M                                                                                                                                       M
                                                  EN                                         EN                                  EN                                                                                                                                         EN
                                                      T                                        T                                   T                                                                                                                                             T
Case 17-13955-mdc          Doc      Filed 11/18/21 Entered 11/18/21 14:14:54                Desc Main
                                    Document      Page 7 of 8


Disclosure on Cancellation of Mortgage Insurance Premium (MIP)

You may have the option to cancel annual MIP in advance of the projected amortization date by making additional
payments of Mortgage principal. To inquire about loan qualifications for early termination of MIP, send in a written
request to the address listed below, or contact Customer Service.

        Call Customer Service at 1-800-822-5626, Monday - Thursday, 8:00 a.m. - 9:00 p.m., Friday, 8:00 a.m.
        - 5:00 p.m. ET and Saturday, 9:00 a.m. - 2:00 p.m.

        Or

       Send a written request to the address on the statement
       PNC Bank
       P.O. Box 8736
       ATTN: Mortgage Insurance Department B6-YM13-01-5
       Dayton, Ohio 45401-8736.
Case 17-13955-mdc        Doc     Filed 11/18/21 Entered 11/18/21 14:14:54            Desc Main
                                 Document      Page 8 of 8



                            UNITED STATES BANKRUPTCY COURT
                         FOR THE Eastern District of Pennsylvania
                                         (Philadelphia)

 IN RE: Vida Debrah                                             Case No 17‐13955
                                                                Judge Magdeline D. Coleman
                                                                Chapter 13


                                  CERTIFICATE OF SERVICE OF


       I, the undersigned, hereby certify that, on November 18, 2021, a true and correct
copy of the Notice of Mortgage Payment Change was electronically served upon the
following using the Court’s CM/ECF system:

Debtor’s Attorney: MICHAEL A. CIBIK
Trustee: KENNETH E. WEST
Office of the United States Trustee

       Further, I certify that, on November 18, 2021, a true and correct copy of the Notice of
Mortgage Payment Change was forwarded via U.S. Mail, first class postage prepaid and
properly addressed, to the following at the address shown below:

       Vida Debrah                    7312 Bunting Place Philadelphia, PA 19153

                                                             By: /s/ Vicki Pringle
                                                             Vicki Pringle
                                                             PNC Bank, N.A.
                                                             3232 Newmark Drive
                                                             Miamisburg Ohio 45342
                                                             866‐754‐0659
